                   EXHIBIT J




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From:                                           Breslin, Mike <mbreslin@kilpatricktownsend.com>
Sent:                                           Thursday, January 7, 2021 2:14 PM
To:                                             Gallo, Joseph; LaVigne, Christopher
Cc:                                             Wiley, Adam
Subject:                                        ESI term comments
Attachments:                                    Williams v. AT&T - Comments to Pl_s Proposed ESI Search Terms.DOCX



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Joe / Chris –

Let me know if my comments appear in this one. Apologies they weren’t in the previous version I sent.

‐Mike




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                         Comments to Plaintiff’s proposed ESI search terms


                                            Tranche 1

SIM
Subscriber identity module
Subscriber identification module
Hack!
Swap!
Intercept!
Compromise!
Scam!
Verif!
Impersonat!
Imposter
Pretend!
Fake!
Faking
Pose!
Posing
Breach!
Defraud!
Authoriz!
Unauthoriz!                                                                                   Commented [BM1]: These terms are very generic and, if each is
                                                                                              searched in isolation as you’ve proposed, will produce voluminous
                                                                                              and almost exclusively irrelevant materials. The case involves
                                                                                              unauthorized SIM changes and the search terms used should be
                                            Tranche 2                                         designed to reflect that, like the terms we’ve proposed.

Customer w/10 secur!                                                                          While we could see the reasonableness of certain of these terms if
                                                                                              they were searched in connection with other terms that would make
Customer w/10 fraud!                                                                          it likely they appear in a document concerning unauthorized SIM
Customer w/10 access!                                                                         changes (for example “imposter” w/10 “SIM”), such documents
Customer w/10 id                                                                              should already be retrieved by the broad search we’ve proposed for
Customer w/10 ident!                                                                          all references to unauthorized SIM changes: (“SIM SWAP!” or
                                                                                              “SIM HIJACK!” or (“SIM CHANGE!” w/2 (UNAUTHORIZ! or
Customer w/10 priv!                                                                           FRAUD!))).
Account w/10 secur!
Account w/10 fraud!                                                                           We are happy to discuss these further. Also, if there are relevant
Account w/10 access!                                                                          documents that you hope to retrieve through these terms and that
                                                                                              would not be captured by the terms we’ve proposed, please let us
Account w/10 id                                                                               know what those are and we can discuss those as well.
Account w/10 ident!
Account w/10 priv!
Data w/10 secur!
Data w/10 fraud!
Data w/10 access!                                                                             Commented [BM2]: These terms appear designed to capture any
Data w/10 id                                                                                  document referencing account or data security, without regard to the
Data w/10 ident!                                                                              context or any connection to SIM swapping or the issues in this case.
Data w/10 priv!                                                                               AT&T has already produced its confidential account security, fraud
                                                                                              prevention, and customer authentication procedures and training
Information w/10 secur!                                                                       materials, which would cover all relevant information relating to the
Information w/10 fraud!                                                                       policies, procedures, and training applicable to the security of
Information w/10 access!                                                                      plaintiff’s account and private information at the time of the
Information w/10 id                                                                           incidents in this case. We don’t see how these terms are reasonably
                                                                                              tailored to capture additional documents relevant to the issues in the
Information w/10 ident!                                                                       case.
Information w/10 priv!
Information w/10 personal                                                                     If there are relevant documents that you hope to retrieve through
                                                                                              these terms and that would not be captured by the terms we’ve
                                                                                              proposed, or have not already been produced, please let us know
                                                                                              what those are and we can discuss them.




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                                           Tranche 3

Prime
Alorica
TPUSA
Teleperformance
Concentrix                                                                          Commented [BM3]: Searching for any document containing only
Convergys                                                                           the name of any of these entities would return voluminous and
                                                                                    almost exclusively irrelevant documents. We can see potential
                                           Tranche 4                                relevance in documents referencing these entities in connection with
                                                                                    a discussion of the plaintiff or the SIM swaps in this case, but note
                                                                                    that the search terms we’ve proposed would already capture all such
CPNI                                                                                documents, as they are designed to return any document referencing
Customer Proprietary Network Information                                            an unauthorized SIM change or Mr. Williams, or his account number
                                                                                    or telephone number. Also, AT&T has already produced its master
                                                                                    agreements with these entities and its policies and training materials
                                           Tranche 5                                applicable to these entities with respect to Plaintiff’s account
                                                                                    security and privacy.
Consent w/10 decree
Consent w/10 order                                                                  If there are additional relevant materials you want to obtain
                                                                                    regarding these entities, please specify what they are and we will be
Comply w/10 decree                                                                  happy to discuss.
Comply w/10 order
Compliance w/10 decree                                                              Commented [BM4]: Similar to the above, searching for all
                                                                                    references to the term “CPNI” within a telecommunications
Compliance w/10 order                                                               company will return enormous amounts of irrelevant materials.
Compliance w/10 report                                                              While we could see the reasonableness of searching for documents
Compliance w/10 office!                                                             referencing CPNI in connection with Mr. Williams or any activity
Compliance w/10 plan!                                                               on his AT&T account, the terms we’ve proposed are already broad
                                                                                    enough to capture any such documents.
FCC
Federal Communications Commission                                                   A more fundamental issue with these terms is there is still no
Information Security Program                                                        evidence that any of Mr. Williams’ CPNI was disclosed to any third
Risk Assessment                                                                     party, let alone used in connection with any of the hacking incidents
                                                                                    he alleges. Interrogatory No. 8 asked Mr. Williams to identify any of
                                                                                    his CPNI that was disclosed, and his response only states that he
                                                                                    believes “AT&T improperly provided third-party hackers with [his]
                                                                                    SIM Card” and any CPNI that it may have contained. The account
                                                                                    notes AT&T has produced demonstrate that is not what happened,
                                                                                    and that Mr. Williams’ SIM card was never removed (at least not be
                                                                                    AT&T) from his phone. It was only Mr. Williams’ service
                                                                                    connection to the AT&T network that was transferred to a different
                                                                                    phone/SIM card. Mr. Williams also has not produced any documents
                                                                                    responsive to RFP No. 20, which requested materials indicating
                                                                                    hackers used his CPNI to access any of his accounts.

                                                                                    If you have any evidence that Mr. Williams’ CPNI was disclosed by
                                                                                    AT&T to the hackers, please provide that to us. We are happy to
                                                                                    discuss this issue further.
                                                                                    Commented [BM5]: The same problem exists for these terms,
                                                                                    which appear designed to capture any document referencing the
                                                                                    FCC or the 2015 Consent Decree (although, as worded, these terms
                                                                                    as a whole will capture voluminous materials related to neither).

                                                                                    As we’ve indicated previously, we do not see any relevance in this
                                                                                    case to the Consent Decree, which addressed two instances of
                                                                                    vendor employees stealing SSNs to obtain phone unlock codes. And
                                                                                    although the consent decree placed obligations on AT&T regarding
                                                                                    protection of customer data, there is no evidence in this case that
                                                                                    AT&T provided Mr. Williams’ information to anyone, or that any
                                                                                    information in AT&T’s possession was used by the hackers to carry
                                                                                    out their attacks on Mr. Williams.

                                                                                    Notwithstanding, AT&T has already produced its policies,
                                                                                    procedures, and training materials related to account security and
                                                                                    protection of customer information, from which Mr. Williams can
                                                                                    assess AT&T’s compliance with Section 222 or the applicable FCC
                                                                                    Regulations.




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